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                             Exhibit B
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Home › Campaign finance data › Candidate profiles › BIDEN, JOSEPH R JR



    BIDEN, JOSEPH R JR
    CANDIDATE FOR PRESIDENT
    ID: P80000722
    DEMOCRATIC PARTY



    Financial summary


        ELECTION                                                              TIME PERIOD

           2020                                                                             All years: 2017–2020

                                                                                                   2017–2018

                                                                                                  2019–2020


        Data is included from these committees:

            BIDEN FOR PRESIDENT (C00703975)




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          Total raised
                  Browse receipts


             Coverage dates: 04/01/2019 to
             12/31/2020


           TOTAL RECEIPTS                                                                                     $1,074,179,976.03

           TOTAL CONTRIBUTIONS                                                                                 $823,669,347.58

              Total individual contributions                                                                   $823,098,083.37

                  Itemized individual contributions                                                            $504,504,091.00

                  Unitemized individual contributions                                                          $318,593,994.00

              Party committee contributions                                                                          $8,200.00

              Other committee contributions                                                                        $563,064.21

              Presidential public funds                                                                                  $0.00

              Candidate contributions                                                                                    $0.00

           TRANSFERS FROM OTHER AUTHORIZED                                                                     $243,411,324.12
           COMMITTEES

           TOTAL LOANS RECEIVED                                                                                          $0.00

              Loans made by candidate                                                                                    $0.00

              Other loans                                                                                                $0.00

           TOTAL OFFSETS TO EXPENDITURES                                                                         $7,021,943.40

              Offsets to operating expenditures                                                                  $7,021,943.40

              Fundraising offsets                                                                                        $0.00

              Legal and accounting offsets                                                                               $0.00

           OTHER RECEIPTS                                                                                           $77,360.93

          Newly filed summary data may not appear for up to 48 hours.




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          Total spent
                  Browse disbursements


             Coverage dates: 04/01/2019 to
             12/31/2020


           TOTAL DISBURSEMENTS                                                                                $1,073,919,500.66

           OPERATING EXPENDITURES                                                                             $1,056,940,033.92

           TRANSFERS TO OTHER AUTHORIZED                                                                         $1,192,592.00
           COMMITTEES

           FUNDRAISING                                                                                                   $0.00

           EXEMPT LEGAL AND ACCOUNTING                                                                                   $0.00

           TOTAL LOAN REPAYMENTS MADE                                                                                    $0.00

              Candidate loan repayments                                                                                  $0.00

              Other loan repayments                                                                                      $0.00

           TOTAL CONTRIBUTION REFUNDS                                                                           $15,783,418.74

              Individual refunds                                                                                $15,774,817.90

              Political party refunds                                                                                    $0.00

              Other committee refunds                                                                                $8,600.84

           OTHER DISBURSEMENTS                                                                                       $3,456.00

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          Cash summary

             Coverage dates: 04/01/2019 to
             12/31/2020


           ENDING CASH ON HAND                                                                                $260,475.37

           DEBTS/LOANS OWED TO COMMITTEE                                                                            $0.00

           DEBTS/LOANS OWED BY COMMITTEE                                                                            $0.00

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